                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 THE UNITED STATES OF                       )
 AMERICA, ex rel. JOSEPH M.                 )
 THOMAS,                                    )
                                            )
                      Plaintiff,            )
                                            )
               v.                           )                 1:17-CV-276
                                            )
 DUKE UNIVERSITY, DUKE                      )
 UNIVERSITY HEALTH SYSTEM,                  )
 INC., WILLIAM M. FOSTER, PH.D.,            )
 and ERIN N. POTTS-KANT,                    )
                                            )
                      Defendants.           )



                     MEMORANDUM OPINION AND ORDER

Catherine C. Eagles, District Judge.

       In this False Claims Act qui tam lawsuit, defendants Duke University and Duke

University Health System contend that Virginia counsel for the plaintiff-relator Joseph

M. Thomas violated their ethical duties in handling communications between the relator

and his co-workers at Duke after the lawsuit was filed and while it was under seal. Duke

seeks sanctions, including to disqualify the relator’s Virginia counsel and to exclude

communications between the relator and his co-workers from evidence.

       Duke has not shown to the Court’s satisfaction that the relator’s counsel has

violated either the North Carolina or the Virginia ethical rules. The motion will be

denied.




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   I.      Background

        The relator, a research analyst in Duke’s pulmonary division, filed this False

Claims Act qui tam lawsuit under seal alleging that the defendants had falsified and

manipulated scientific research data used to obtain federal research grants. See Doc. 1.

These allegations centered on data defendant Erin Potts-Kant purported to collect while

working in defendant William Foster’s laboratory in the pulmonary division at Duke. Id.

The lawsuit was filed in the Western District of Virginia, and the relator was represented

by Virginia counsel at the law firm Gentry Locke.

        The relator continued to work for Duke after filing suit. While the lawsuit

remained under seal, the relator spoke with co-workers about the alleged fraud and

Duke’s response to it. At the suggestion of Virginia counsel, he took notes about these

conversations and shared information he learned from co-workers with his lawyers. At

least some of these conversations tended to indicate that Duke was continuing to cover up

the fraudulent data.

        Duke concedes that relators can use information in their lawsuits that “ordinarily

flow[s] to them” at work. Doc. 200 at 11. Duke contends that here, however, Virginia

counsel deliberately orchestrated and directed conversations with Duke’s employees and

secured Duke’s privileged information in violation of the applicable professional

conduct rules. Virginia counsel deny orchestrating any conversations or misusing any

privileged information.




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   II. Applicable Law

          a. Disqualification of Counsel

       Disqualification of counsel is a serious matter, and the moving party must meet a

high standard of proof to show that opposing counsel should be disqualified. See, e.g.,

Plant Genetic Sys., N.V. v. Ciba Seeds, 933 F. Supp. 514, 517 (M.D.N.C. 1996); Tessier

v. Plastic Surgery Specialists, Inc., 731 F. Supp. 724, 729 (E.D. Va. 1990). Whether

sanctions are appropriate is a matter within the court’s inherent authority and district

courts in this circuit typically require proof of willful misconduct by clear and convincing

evidence. See, e.g., Dillon v. BMO Harris Bank, N.A., No. 1:13-CV-897, 2016 WL

5679190, at *9 (M.D.N.C. Sept. 30, 2016) (collecting cases from other circuits), aff’d sub

nom. on other grounds, Six v. Generations Fed. Credit Union, 891 F.3d 508 (4th Cir.

2018); U.S. ex rel. Rector v. Bon Secours Richmond Health Corp., No. 3:11-CV-38, 2014

WL 66714, at *5 (E.D. Va. Jan. 6, 2014); see also In re Liotti, 667 F.3d 419, 425 (4th

Cir. 2011) (stating that “the proper standard of proof for violations of the relevant rules of

professional conduct is ‘clear and convincing evidence’” for the purpose of imposing

attorney discipline).

       In addition, “[t]he drastic nature of disqualification requires that courts avoid

overly-mechanical adherence to disciplinary canons at the expense of litigants’ rights

freely to choose their counsel.” Shaffer v. Farm Fresh, Inc., 966 F.2d 142, 146 (4th Cir.

1992). Moreover, courts must “always remain mindful of the opposing possibility of

misuse of disqualification motions for strategic reasons.” Id.



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           b. Rules of Professional Conduct

        Both the North Carolina and Virginia ethical rules prohibit a lawyer from

communicating with a person the lawyer knows to be represented about the subject of

that representation, absent consent of that person’s lawyer. N.C. R. Prof’l Conduct Rule

4.2; Va. Sup. Ct. R. pt. 6, § 2, Rule 4.2.1 Both states also prohibit lawyers from using

methods of obtaining evidence that violate the legal rights of third persons. N.C. R.

Prof’l Conduct Rule 4.4(a); Va. Sup. Ct. R. pt. 6, § 2, Rule 4.4.2 In both states, it is

professional misconduct for a lawyer to violate these or other rules “through the acts of

another.” N.C. R. Prof’l Conduct Rule 8.4(a); Va. Sup. Ct. R. pt. 6, § 2, Rule 8.4(a).3


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     Rule 4.2 of the North Carolina Rules of Professional Conduct states that “[d]uring the
representation of a client, a lawyer shall not communicate about the subject of the representation
with a person the lawyer knows to be represented by another lawyer in the matter, unless the
lawyer has the consent of the other lawyer or is authorized to do so by law or a court order.”
Rule 4.2 of the Virginia Rules of Professional Conduct provides that “[i]n representing a client, a
lawyer shall not communicate about the subject of the representation with a person the lawyer
knows to be represented by another lawyer in the matter, unless the lawyer has the consent of the
other lawyer or is authorized by law to do so.”
   2
      Rules 4.4 of the North Carolina Rules of Professional Conduct and the Virginia Rules of
Professional Conduct state that “[i]n representing a client, a lawyer shall not . . . use methods of
obtaining evidence that violate the legal rights of [a third person].” Both states have adopted
Comment 1, which specifies that it is “impractical to catalogue all such rights [of third persons],
but they include legal restrictions on methods of obtaining evidence from third persons.” The
North Carolina rules go on to comment that this includes “unwarranted intrusions into privileged
relationships, such as the client-lawyer relationship.” N.C. R. Prof’l Conduct Rule 4.4 cmt. 1.
   3
      The parties disagree as to whether the North Carolina or Virginia rules apply. The states
differ as to which corporate employees qualify as “persons” with whom counsel cannot
communicate under Rule 4.2, and such determinations are not necessarily straightforward. See,
e.g., Geoffrey C. Hazard, Jr. & Dana Remus Irwin, Toward A Revised 4.2 No-Contact Rule, 60
Hastings L.J. 797, 831 (2009); Stephen M. Sinaiko, Ex Parte Communication and the Corporate
Adversary: A New Approach, 66 N.Y.U. L. Rev. 1456, 1457–59 (1991). See generally Dean S.
Rauchwerger, Shawn K. Jones & Allison K. Baten, Getting the Winning Edge: Appreciating the
Permissible Boundaries in Qui Tam and Other Litigation Contexts for Contacting Your


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        The few cases addressing whether an attorney has committed misconduct by

acting through his client indicate that a client is free to act independently in talking with

potential witnesses, but ethical problems arise when lawyers cause or assume control and

direction over those conversations.4 Compare Miano v. AC & R Advert., Inc., 148 F.R.D.

68, 87–89 (S.D.N.Y 1993) (finding no ethical violation where plaintiff taped

conversations with defendant’s employees and discussed these conversations with his

attorney because the attorney did not “suggest, plan or supervise” what his client did and

mere knowledge of his client’s activity and receipt of information was not sufficient to

show the attorney “caused” his client’s behavior), and Mathis v. Leggett & Platt, No.

1:04-CV-3703, 2006 WL 8431959, at *2–3 (N.D. Ga. Apr. 5, 2006) (finding no ethical

violation where there was “no evidence indicating that Plaintiff’s counsel prompted,

directed, or caused” his client to ask defendant’s employee to confirm if her signature on

a document was authentic), with Holdren v. Gen. Motors Corp., 13 F. Supp. 2d 1192,

1193, 1195–96 (D. Kan. 1998) (finding attorney violated professional rules when he told

his client it would be a “good idea” to obtain sworn statements from defendant’s

employees and advised his client on how to draft affidavits), and Meachum v. Outdoor

World Corp., 654 N.Y.S.2d 240, 249–50 (1996) (finding attorney violated professional


Adversary’s Current & Former Employees, 40 False Cl. Act and Qui Tam Q. Rev. 14 (Jan.
2006). As discussed below, Duke has not shown that counsel caused, directed, or controlled the
relator’s communications with his co-workers, so whether these co-workers are “persons” under
either rule is immaterial. The Court makes no findings as to whether either state’s version of
Rule 4.2 covers any or all of the co-workers who talked with the relator.
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     Neither party identified or addressed these cases in the briefing. See Doc. 160; Doc. 189
(redacted at Doc. 185); Doc. 200; Doc. 211.


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rules when he proposed that plaintiff tape a call with defendant’s employee, dialed the

number for plaintiff, listened to the conversation without announcing himself, and used

this tape to draft the complaint). See also San Francisco Unified Sch. Dist. ex rel.

Contreras v. First Student, Inc., 213 Cal. App. 4th 1212, 1233 (2013) (noting that “[c]ase

law and other legal authority clearly establish that the individual plaintiffs' contacts with

[the defendant’s] employees violated [the California equivalent of Rule 4.2] only if the

contacts were wrongfully orchestrated by plaintiffs' counsel”).

   III.    Discussion and Findings5

        Duke contends that Rules 4.2, 4.4, and 8.4, read together, prohibited Virginia

counsel from deliberately soliciting information from Duke employees through the relator

once he filed this lawsuit and once it became apparent Duke was represented by counsel.6

The motion thus turns on Duke’s factual assertions that Virginia counsel knew Duke was


   5
      The Court finds the facts stated for purposes of this motion only. In addition to the
evidence submitted by the parties, the Court has considered the allegations of the Amended
Complaint to the extent one or more of the defendants has admitted them. The Court has drawn
reasonable inferences from the evidence and made credibility determinations in light of the
record as a whole. The Court has largely accepted the relator’s affidavit, Doc. 190, as credible;
Duke has not contradicted sizable parts of it, and the relator’s testimony is generally consistent
with common sense. To the extent Duke has offered contrary evidence, the Court does not think
it means as much as Duke thinks it means and otherwise does not find it persuasive. The Court
has disregarded the many purported facts in Duke’s briefs that do not withstand a dispassionate
analysis of the cited supporting evidence, as well as those stated without citation to any evidence
at all. See Doc. 110 at ¶ 1 (the Court’s order indicating that “factual assertions unsupported by
citation to specific evidence in the record will be disregarded”). If the Court applied a lower
preponderance-of-the-evidence standard, its factual findings would not change.
   6
     See Doc. 160 at 11 (framing the question presented as whether the actions of Virginia
counsel “in supervising [relator’s] ex parte interviews with Duke employees” violated rules of
professional conduct); Doc. 200 at 3 (claiming that Virginia counsel “orchestrated a plan in
which [relator], posing as a concerned co-worker, solicited information from unsuspecting Duke
employees”).
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represented by counsel in connection with the Foster lab data issue and thereafter caused,

directed, or controlled the relator’s post-lawsuit conversations with co-workers.

        As noted above, claims that an attorney has violated ethical rules through the acts

of his client require a fact-specific analysis. Relevant factors include, inter alia, the

context in which the relator’s communications with his co-workers occurred, the nature

of the information gathered, and counsel’s participation in collecting and using that

information.

           a. The relator’s communications with his co-workers

        Soon after Duke fired Ms. Potts-Kant in March 2013, researchers in the Duke

pulmonary division became aware that she may have manipulated data while working in

the Foster lab. Widespread interest in the possibility of fraudulent research and efforts to

evaluate whether data was reliable led to many conversations among researchers,

including with the relator.7

        After filing the qui tam lawsuit in May 2013, the relator complied with the False

Claims Act’s requirement that he keep the lawsuit confidential while under seal.8


   7
      In addition to the relator’s summary of conversations with his co-workers, Doc. 166, and
the relator’s declaration, Doc. 190, Duke’s own internal documents confirm this was the case.
See Doc. 176-10 at ¶ 3 (report of Duke’s Research Integrity Officer that, in preparation for a
May 9, 2013, data submission and later site visit, “there was frequent and constant conversation
among the researchers . . . as they worked to determine what data were appropriate to use”).
Duke has provided no evidence to the contrary.
   8
      False Claims Act cases filed by individuals are, by statute, filed under seal and no summons
is issued for at least 60 days while the government investigates to decide if it will intervene. 31
U.S.C. § 3730(b)(2). During this time, relators and their counsel are required to maintain silence
about the existence of the lawsuit. State Farm Fire & Cas. Co. v. U.S ex rel. Rigsby, 137 S. Ct.
436, 442 (2016) (noting that § 3730(b)(2) “creates a mandatory rule the relator must follow”). In


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Consistent with statutory protections for whistleblowers, he continued to work for Duke

for over a year after filing suit, as the False Claims Act contemplates.9 He did not tell his

employer or his co-workers that he had filed a lawsuit against Duke until shortly before

he left Duke’s employment.

        Although the relator did not work directly in the Foster lab, he did work with

Ms. Potts-Kant before Duke fired her, and a grant tied to Ms. Potts-Kant’s data paid for

part of his salary. He co-authored one paper with Dr. Foster and Ms. Potts-Kant (among

others), and he later helped determine whether some of the data Ms. Potts-Kant produced

could be replicated. It is therefore not surprising that the relator participated in

discussions with co-workers about the Foster lab data.

        The relator and his co-workers continued to discuss the Foster lab data issue

throughout 2013 and 2014, and his co-workers also continued discussions amongst

themselves. See, e.g., Doc. 166 at 15 (“Ledford said that Que told her that she used to be

only able to run eight mice per day on a flexiVent machine.”); id. at 52 (“[Theriot] stated

that she and Que had a discussion last week . . . .”). In these conversations, researchers


this case, the seal was extended several times and was in place for over three years. See Doc. 1
(showing case filed on May 17, 2013); Doc. 36 (order lifting the seal on August 9, 2016).
   9
      The False Claims Act offers whistleblower-employees protection from retaliation in
employment, 31 U.S.C. § 3730(h), making it clear that Congress contemplated many qui tam
whistleblowers would be employees who continued to work for defendants after filing suit. See
generally John T. Boese, Civil False Claims and Qui Tam Actions § 4.01[B][1] (4th ed. 2018)
(noting that the most common qui tam plaintiff is the current employee). Employees have
particular importance to the Act’s whistleblowing scheme because of their familiarity with their
employers’ businesses and their access to internal information. Stephen M. Payne, Let’s Be
Reasonable: Controlling Self-Help Discovery in False Claims Act Suits, 81 U. Chi. L. Rev. 1297,
1303 (2014).


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talked, shared information, and speculated about the allegedly falsified research data, the

ongoing tests to evaluate whether the data could be replicated, how Duke was dealing

with grant-making entities and publications over the questionable data, how the fall-out

might affect careers and the future of the pulmonary division, what pulmonary

researchers were leaving Duke, and other matters of personal and professional interest.

See generally Doc. 166. Many of these conversations were work-related and involved

tasks of shared interest; others appear to have resulted from a natural human tendency to

talk about matters of common concern. All of the relator’s relevant conversations were

with people with whom he ordinarily had work-related contact and a number of the

conversations appear to have been initiated by his co-workers.

        Assuming without deciding that at some point in the summer of 2013, Virginia

counsel knew Duke had retained counsel in connection with the Foster lab data issue,10

there is no direct evidence that Virginia counsel thereafter caused, controlled, or directed

the relator’s conversations with his co-workers. Nor is the circumstantial evidence on

which Duke relies persuasive.

        In asserting otherwise, Duke relies on the relator’s admission that he regularly

reported what co-workers shared with him to Virginia counsel and took notes of his




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      As previously noted, lawyers are only prohibited from communicating with those persons
they “know[] to be represented by another lawyer” and only “about the subject of the
representation.” See supra note 1 (quoting Virginia and North Carolina versions of Rule 4.2).
The record is not clear as to exactly when lawyers began representing Duke in connection with
the Foster lab data issue, as is discussed in more detail in the Court’s order addressing the
motions to seal entered this same day, much less when Virginia counsel should have known of
the representation. The summer of 2013 is a generous assumption in favor of Duke.
                                                9



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interactions at his counsel’s suggestion. See Doc. 160 at 13; Doc. 159-1 at 4; Doc. 189 at

5 (redacted at Doc. 185). However, there are many legitimate reasons for counsel to ask

a client to take notes about what he sees and hears and to provide that information to

counsel. These include the need for an aid to memory as time passes, compliance with

Rule 11 of the Federal Rules of Civil Procedure when filing or amending a complaint,

avoiding liability under 31 U.S.C. § 3730(d)(4), insuring that all supporting information

is provided to the government as required by 31 U.S.C. § 3730(b)(2), compliance with

the disclosure requirements of Rule 26(a)(1) of the Federal Rules of Civil Procedure after

the matter is joined, and providing complete discovery responses. 11

        It would be a strange result indeed if a qui tam relator could not take notes or tell

his lawyers about facts and actions which would support the claims in his lawsuit, such as

the confirmation that the allegedly false data could not be replicated, or which would

support continuing and additional violations of the False Claims Act, such as statements

tending to indicate Duke was attempting to hide or minimize the false data in its

communications with outsiders, including governmental funding sources.12             The Court

declines to infer from Virginia counsel’s receipt of information and suggestion to take


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      In an employment discrimination case claiming failure to promote, for example, it would
be ludicrous to suggest that the employee-plaintiff could not talk to his or her lawyer about what
co-workers or supervisors said that might be relevant to the lawsuit.
   12
      While Duke concedes that qui tam whistleblowers “can obtain information for use in their
lawsuits that ordinarily flow to them,” Doc. 200 at 11, it does not acknowledge that its position
on note-taking and sharing information with counsel would effectively prevent such evidence
from ever seeing the light of day. One might suspect that a desire to exclude harmful evidence is
driving this motion for sanctions. Shaffer, 966 F.2d at 146 (noting potential for misuse of
disqualification motions for strategic reasons).


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notes that counsel directed or controlled the relator’s underlying interactions. See Miano,

148 F.R.D. at 87–89; Mathis, 2006 WL 8431959 at *2–3.

        Duke further contends that the number of the relator’s conversations and questions

about the Foster lab data issue supports the inference that Virginia counsel were directing

these communications. The Court is not persuaded. Overall, the evidence shows that

there was widespread serious concern about the Foster lab data issue and its

ramifications. A number of people working in close proximity to the relator as well as

the relator himself were trying to replicate the data. Several researchers left the Duke

pulmonary lab in the wake of the problems. Conversations about the fraud, its

professional and personal implications, and the efforts to replicate results would have

been perfectly normal in this context. Moreover, many of the questions the relator asked

were general and typical of ordinary conversation, with little to indicate a targeted

inquisition.13 Given that the relator worked for Duke for well over a year after filing suit


   13
       Duke indirectly contends that the relator could not ask his co-workers any questions about
the lab fraud, asserting these exchanges were unfair because the relator’s co-workers did not
know he was the whistleblower. But the False Claims Act required the relator to keep his
involvement confidential, see supra note 8, and it is not clear how the relator could have tried to
replicate Ms. Potts-Kant’s data without asking at least some questions. Even if the relator’s
motivation was to obtain relevant information for his lawsuit, this is a goal contemplated by the
False Claims Act. See supra note 9. As one commentator has noted in the context of
documents, “the FCA contemplates and condones gathering and producing documents prior to
service of the complaint and the beginning of formal discovery.” Joel D. Hesch, The False
Claims Act Creates A ‘Zone of Protection’ That Bars Suits Against Employees Who Report
Fraud Against the Government, 62 Drake L. Rev. 361, 418 (2014). In any event, the relevant
rules of professional conduct prohibiting contact with represented persons apply only to counsel
and do not apply to the relator, and Duke has cited no case to the contrary. See Mathis, 2006 WL
8431959 at *3 (“[T]he Court is not aware of any authority in this Circuit or elsewhere suggesting
that a party, as opposed to an attorney, is prohibited from engaging in communications with a
represented adverse party.”); San Francisco Unified Sch. Dist. ex rel. Contreras, 213 Cal. App.


                                                  11



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and the significant interest all pulmonary division employees had in the Foster lab data

fraud, the number of conversations the relator had with his co-workers is neither

surprising nor suspicious.

           b. The handling of potentially privileged information

        There is also no persuasive evidence that counsel sought or used allegedly

privileged information inappropriately. The relator did not communicate directly with

Duke counsel and declined the opportunity to do so later when Duke requested an

interview. Duke has not alleged that the relator obtained any privileged documents.

Much of the information Duke asserts to be privileged is not so, as discussed in detail in

the Court’s order on various motions to seal entered this same day. Other exchanges

mentioning Duke counsel were shared with the relator in a context tending to indicate any

possible privilege claim was waived.14 Moreover, Duke has not cited to any statements

in the Amended Complaint or otherwise where Virginia counsel made use of purportedly

privileged information, much less inappropriate use.15


4th at 1229 (noting that “contacts with [defendant’s] employees by the individual plaintiffs on
their own initiative are clearly exempt” from the California equivalent of Rule 4.2).
   14
      There is nothing in the information Virginia counsel had at the time, and nothing in the
record now, to show that the relator’s co-workers talked with him in order to obtain information
counsel needed to provide legal advice or that Duke had taken steps to protect the confidentiality
of communications like the ones Duke is now claiming are privileged. See David. M.
Greenwald, Testimonial Privileges § 1:83 (3d ed. 2017) (“Where a corporation or other
organization is the client, waiver may occur when otherwise privileged materials are circulated to
persons not assisting in furnishing information to the lawyer or acting upon legal advice received
from the lawyer.”).
   15
     There were additional appropriate actions Virginia counsel could have taken once it
became clear that the relator’s co-workers were freely discussing interactions with counsel, such


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       Otherwise, Virginia counsel has been sensitive to attorney-client privilege issues

throughout this case, further undermining an inference of misconduct. When furnishing

the relator’s interrogatory answers, which summarized his communications with co-

workers, Virginia counsel redacted text mentioning Duke counsel from disclosure to co-

defendants so that Duke would have the opportunity to claim the attorney-client

privilege. When Duke inadvertently disclosed a large amount of potentially privileged

attorney-client material in discovery, Virginia counsel immediately brought the matter to

Duke’s attention and followed up when Duke did not respond.

       These facts differ substantially from the cases on which Duke relies, where the

documentary information counsel obtained was clearly privileged and was used in

pleadings. In U.S. ex rel. Frazier v. IASIS Healthcare Corp., the relator was an attorney

and the Chief Compliance Officer of the defendant organization who had taken

approximately 1,300 pages of documents before departing the company and filing a qui

tam action. No. 2:05-CV-766-RCJ, 2012 WL 130332, at *1, 3 (D. Ariz. Jan. 10, 2012).

Some of these documents had attorney-client privilege headings—the specific documents

at issue in the motion for sanctions had the title of “Legal Memo” —and yet counsel

“feigned ignorance” as to possessing privileged information when asked. Id. at *5, 7, 15.

In United States ex rel. Hartpence v. Kinetic Concepts, Inc., the relators took documents




as seeking guidance from the Court. See, e.g., United States ex rel. Hartpence, 2013 WL
2278122, at *2. However, the availability of other appropriate alternative options does not mean
Virginia counsel violated ethical obligations, and counsel’s actions are not judged with 20/20
hindsight or in light of facts Virginia counsel could not have known.

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from the defendant company when they left, including communications with the

defendant’s attorneys. Nos. CV 08-1885-GHK (AGRx), CV 08-6403-GHK (AGRx),

2013 WL 2278122, at *1–2 (C.D. Cal. May 20, 2013). Counsel for the relators

quoted directly from privileged documents in their pleadings, despite notice from the

U.S. Attorney’s office that the documents were likely privileged. Id. at *2–3. The

conduct of Virginia counsel here does not approach the conduct in Frazier or Hartpence.

        Duke implies that it is professional misconduct for a lawyer to fail to instruct a

relator-client to walk away or to refuse to listen when co-workers mention anything about

their employer’s lawyers, but it has cited no case for such an overbroad proposition.16 As

discussed more fully in the Court’s order on the motions to seal entered this same day,

not all communications that mention counsel are protected by the attorney-client

privilege, which is “strictly confined within the narrowest possible limits consistent with

the logic of its principle.” Solis v. Food Emp’rs Labor Relations Ass’n, 644 F.3d 221,

226 (4th Cir. 2011) (internal quotations omitted).




   16
       There is no evidence before the Court as to what instructions Virginia counsel did or did
not give the relator about potentially privileged information he received from his co-workers.
Duke emphasizes that Virginia counsel did not submit affidavits affirmatively setting forth
advice given to the relator, see Doc. 200 at 2–3, 6, but Duke has cited no case requiring the
relator to waive his attorney-client privilege merely because an opposing party accuses his
lawyers of misconduct. The Court agrees that qui tam counsel should always proceed cautiously
when receiving information from their client that might be protected by the attorney-client
privilege and that careful advice may well be appropriate. See generally Robert T. Rhoad,
Ethical Issues Arising in Healthcare Fraud Investigations and False Claims Act Qui Tam Cases,
27 No. 1 Health L. 29, 35 (2014) (discussing the numerous obligations qui tam counsel must
balance). But the burden here is on Duke to show misconduct, not on Virginia counsel or the
relator to show the absence of misconduct.


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   IV.      Conclusion

         Duke has not proven misconduct, let alone willful misconduct, by clear and

convincing evidence or by the preponderance of the evidence. The Court will deny the

motion for sanctions.

         This does not necessarily mean that all of the statements that co-workers made to

Mr. Thomas are admissible. It is obvious, for example, that some are speculative and

others are not based on personal knowledge. A number contain multiple layers of

hearsay. Whether a particular statement constitutes an admission or is otherwise subject

to an evidentiary objection are questions that can be decided later, if and when that

becomes necessary.

         It is ORDERED that Duke’s motion for sanctions, Doc. 159, is DENIED.

      This the 4th day of September, 2018.




                                           __________________________________
                                            UNITED STATES DISTRICT JUDGE




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